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                     UNITED STATES DISTRICT COURT
                                    FOR THE
                          DISTRICT OF COLUMBIA


UNITED STATES                               )
                                            )
      V.                                    )     Case: 22-cr-00166-MAU
                                            )
JOHN GEORGE TODD,                           )
                                            )
      Defendant.                            )


DEFENDANT JOHN GEORGE TODD’S RESPONSE AND OPPOSITION TO
UNITED STATES REGARDING REVOCATION OF RELEASE


Comes now defendant John George Todd, by undersigned counsel, with this

response and opposition to the

      John George Todd is an Afghanistan combat veteran who suffers from

combat-related PTSD. Mr. Todd has suffered several traumatic bouts of mental

health episodes and has been continuously under the care of Veterans

Administration (VA) mental health counselors and treatment physicians. On April

12, 2023, Mr. Todd suffered a minor incident stemming from issues relating to his
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wife and another man. For a short time on April 12, Mr. Todd was engaged in a

commotion in which police were called.

      No one was harmed in the incident other than Mr. Todd himself, who

suffered some superficial cuts, which has been described as suicidal ideation.

      Our firm has reached out to Mr. Todd and Mr. Todd’s support community.

Mr. Todd has had a post-incident mental health evaluation by his psychologist, Dr.

Mark Sundahl of the Kansas City Department of Veterans Affairs. Dr. Sundahl

reports that John George Todd did have issues with alcohol on the night in

question, but has recently had a change in his psychiatric medication.

      Dr. Sundahl reports that he has increased the dosage of certain medications

for Mr. Todd. Dr. Sundahl reports that John George Todd is doing well under the

circumstances, and that the VA is increasing its outpatient treatment regiment

regarding Mr. Todd.

      Mr. Todd spent a week in-patient over the past two weeks, whereupon

medical and mental health professionals evaluated Mr. Todd intensely. His

medication levels are now fully adjusted; and Mr. Todd and the VA have a

comprehensive plan for outpatient recovery.
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      Mr. Todd’s doctors do not believe Mr. Todd is a threat to himself or others

at the present time. Incarceration would only exacerbate Mr. Todd’s health and

mental health problems.

      Undersigned counsel also disputes whether Mr. Todd was in possession of

weapons on the night in question. Mr. Todd did possess a knife and/or razor blade

on that date; but these instruments were in Mr. Todd’s pockets and were not used,

brandished or presented in any way as weapons.

      Significantly, Mr. Todd is a misdemeanor defendant who would not likely

be sentenced to extensive jail time if convicted of the charges in this case. Mr.

Todd should not be incarcerated awaiting trial, as such incarceration would pose

the serious risk of over punishing Mr. Todd, even in the event of possible

conviction in this matter.

      Consequently, defense counsel asks for an order continuing Mr. Todd’s

pretrial release and allowing Mr. Todd to complete his treatment plan.

Date: April 27, 2023                             Respectfully Submitted,
                                                  /s/ John M. Pierce
                                                 John M. Pierce
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                           CERTIFICATE OF SERVICE


I hereby certify that, on April 27, 2023, this motion was filed via the Court’s
electronic filing system, which constitutes service upon all counsel of
record.
                                                   /s/ John M. Pierce
                                                   John M. Pierce
